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                                               UNITED STATES DISTRICT COURT

                                              NORTHERN DISTRICT OF CALIFORNIA

                                                  SAN FRANCISCO DIVISION

                  WAYMO LLC,                                  CASE NO. 3:17-cv-00939-WHA

                                 Plaintiff,                   PLAINTIFF WAYMO’S MOTION TO
                                                                 COMPEL UBER SOURCE CODE
                           vs.

                  UBER TECHNOLOGIES, INC.;
                     OTTOMOTTO LLC; OTTO TRUCKING
                  LLC,

                                 Defendants.

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                  1 I.        INTRODUCTION
                  2           Waymo brought this case upon learning of a scheme orchestrated by Defendants 1 to

                  3 misappropriate trade secrets in self driving cars, primarily related to hardware, and LIDAR sensors in

                  4 particular. Seven months into the case, and less than a month before the original trial date, the Federal

                  5 Circuit ordered Uber to produce a “due diligence” report prepared by Stroz Friedberg (the “Stroz

                  6 Report”). As the Court has recognized, Uber previously fought tooth and nail to keep the Stroz Report

                  7 hidden from view through improper claims of privilege. Dkt. 1965, Oct. 3 Hr’g. Tr. at 38:24-39:5

                  8 (“Uber is the one that set up this elaborate scheme to try to conceal the facts from the public and from

                  9 – particularly from Waymo, if it ever came to light, and to engineer this elaborate attorney-client joint

                 10 defense idea that now every judge has looked at it has rejected.” )

                 11           The Stroz Report revealed for the first time that former Waymo employees took Waymo's

                 12 autonomous vehicle source code when they were recruited to join Uber, including software related to

                 13 the “brains” of the vehicle that determines how the car moves. Upon discovering a reference to

                 14 source code in the Stroz Report, Counsel for Waymo promptly demanded the code, hired a forensic

                 15 software expert, and began examining the code as soon as it was made available in an accessible

                 16 format at the end of the day on October 2. Within the last seven days, Waymo has discovered good

                 17 reason to believe that Uber has used trade secrets to develop the “brains” of its own autonomous

                 18 vehicle (“AV”) source code. Waymo does not yet, however, have Uber's current source code. Access
                 19 to Uber’s source code will allow Waymo to confirm that Uber has incorporated trade secrets from

                 20 Waymo’s source code into its latest AV technology.

                 21           Waymo is under an October 23, 2017 deadline to amend its list of trade secrets, prepare

                 22 supplemental expert reports, and exhibit lists in view of the Stroz Report and other new discovery.

                 23 Accordingly, upon receipt of this new information, Waymo asked to inspect Defendants current

                 24 source code to investigate these new claims. Uber has refused, arguing that discovery is closed and

                 25       1
                          Waymo primarily refers to Uber in this motion, as that is the party that previously made
                    available source code and with which it met and conferred in advance of this motion. Waymo is
                 26
                    not aware whether Otto Trucking has access, custody or control of this same code as it has not
                 27 substantively participated in parties’ meet and confers on this issue. To the extent Otto Trucking
                    has custody or control of this source code, Waymo would request it similarly make it available.
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                  1 Waymo cannot investigate new claims. Uber’s position is meritless. As the Court is well aware,

                  2 Waymo previously was blocked from seeing the Stroz Report and its exhibits. Under Judge Alsup's

                  3 orders, Waymo is entitled to seek discovery on new claims it was not previously on notice of by virtue

                  4 of Uber’s improper privilege assertions. Indeed, that is the reason why the Court continued the trial

                  5 date in this matter.

                  6          Waymo expects Uber will argue that because these new software related claims go beyond

                  7 Waymo’s original list of trade secrets provided at the outset of this case, Waymo cannot seek

                  8 discovery on these claims. Such an argument ignores that Uber hid behind claims of privilege the

                  9 necessary facts for Waymo to have made this motion earlier and taken this discovery earlier. Prior to

                 10 filing its Complaint, Waymo was unaware of facts showing Uber had stolen Waymo’s source code.

                 11 Accordingly the Complaint, and the detailed trade secret list filed shortly thereafter, was generally

                 12 limited to hardware technology, primarily focused on LIDAR. After discovery commenced, Uber

                 13 improperly hid Waymo’s stolen source code under a claim that it was protected by privilege. Had

                 14 Uber complied with the Court’s first March 16, 2017 order in this case and produced Waymo source

                 15 code by March 31 when it was ordered to do so, Waymo could have amended its trade secret list and

                 16 taken discovery on these claims at the outset of this case. Dkt. 61. Waymo should not be prejudiced

                 17 because of the delay caused by Uber’s overruled privileged assertions, not to mention its improper

                 18 hiding of non-privileged Waymo documents and software behind this alleged privilege.
                 19          Because of Uber’s tactics, Waymo must now take discovery on these new claims at this late

                 20 date in order to comply with the Court’s Oct. 23 deadline. If denied this discovery, Waymo will be

                 21 forced to file another lawsuit asserting additional trade secret misappropriation claims based on

                 22 information newly disclosed in the Stroz Report. That is contrary to concerns of judicial economy as

                 23 well as this Court’s guidance that Uber—not Waymo—should bear the brunt of any prejudice created

                 24 by the late production of the Stroz Report. The Court should order Uber to immediately make

                 25 available its current source code repository.

                 26 II.      BACKGROUND
                 27          On September 13, Defendants produced the Stroz Report in response to a Federal Circuit

                 28 opinion affirming this Court’s discovery orders. The report summarizes a due diligence investigation

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                  1 into the activities of five “Diligenced Employees,” who left Waymo to form Ottomotto, Anthony

                  2 Levadowski, Lior Ron, Don Burnette, Soren Juelsgaard, and Colin Sebern. Dkt. 1928-24.

                  3          Relevant here, the report at various points references source code retained by the Diligenced

                  4 Employees. See e.g., Stroz Report at 10 (“This information included source code, design files, laser

                  5 files, engineering documents, and software related to Google self-driving cars.); 12 (“A review of the

                  6 names of the deleted files indicates that they were source code and electronic design files relating to

                  7 driverless cars.”) 27 (“Stroz Friedberg identified images from Burnette’s computer that appear to be

                  8 snippets of source code.”). Stroz apparently did not investigate these files, stating “Given Stroz

                  9 Friedberg’s lack of context, we could not determine whether these files were related to Google self-

                 10 driving cars or otherwise constituted Google confidential information. A review of these files by

                 11 Levandowski and/or a third-party expert could settle this issue, or they could be remediated in bulk.”

                 12 Stroz Report at 17. But the source code files were never “remediated” to Waymo as part of the due

                 13 diligence process, nor, to Waymo’s knowledge, was a further review of these files done by

                 14 Levandowski or a third party expert. For example, Exhibit 37 to the Stroz Report, described as a

                 15 “snippet” found on Levandowski’s Macbook Laptop and his Dropbox cloud account, contains Waymo

                 16 source code related to route planning and changing lanes. Ex. 1

                 17          Since Waymo received access to the segregated source code files from Stroz on October 2, its

                 18 experts have reviewed the Stroz-provided source code almost every day, including weekends, in
                 19 connection with its review of the Uber source code that has been provided to date. Because Waymo’s

                 20 source code review involves review of three different source code bases (Uber, Stroz and Waymo),

                 21 Waymo has retained a five new source code review experts, to get through the source code as quickly

                 22 as possible.

                 23          As a result of its review of the Stroz Report and newly disclosed information, on September

                 24 30, Waymo requested that Uber produce “a current version of Uber source code,” including any

                 25 source code that implements this “lane change functionality” in order to compare the retained Waymo

                 26 code with Uber’s implementation. Ex. 2. Uber delayed in providing a substantive response, so
                 27 Waymo requested a meet and confer with the Special Master on October 4. During the meet and

                 28 confer, Uber refused to produce the requested source code.

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                  1             The Court has previously determined that at least some source code is relevant to Waymo’s

                  2 claims. On June 21, 2017, Waymo requested production of source code modules developed at

                  3 Ottomotto in the Spring of 2016 and exchanged with Uber as part of the parties’ acquisition

                  4 negotiations. Dkt. 681-4 at 4. The Court granted Waymo’s motion on July 12,2 but Uber only

                  5 produced them for inspection on August 17. Dkt. 881. In the absence of Uber’s current source code,

                  6 Waymo has been analyzing the earlier source code production. However, it cannot properly compare

                  7 the Waymo code described in the Stroz Report to Uber’s implementation because prior Uber code

                  8 production did not yet fully include the motion planning software functionality. Only the new version

                  9 contains the relevant code disclosed in the Stroz Report and related materials Waymo has discovered

                 10 at Stroz. This is because, as one witness explained, Uber and Otto started “patches” and “refactoring”

                 11 in the fall of 2016. Thus, the version of code Uber previously produced does not contain the code for

                 12 motion planning operations like changing lanes. Dkt. 1928-21 at 157:10-25, 158:7-24; Ex. 3 at

                 13 123:24-124:14, 144:20-146:1, 151:13-152:16. Waymo thus requests the current source code to

                 14 compare Uber’s implementation to Waymo’s source code.

                 15 III.        ARGUMENT
                 16             A.      Uber’s Current Source Code is Highly Relevant To The Question of Whether
                                        Uber Misappropriated Waymo Trade Secrets
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                                On September 13, Waymo first learned that former Waymo employees not only had retained
                 18
                        hardware related Waymo files after they left Waymo and while at Ottomotto, but also source code
                 19
                        related to the brains of the self-driving car, including how to know when to change lanes. For
                 20
                        example, current Uber software lead and one of the Diligenced Employees, Don Burnette, retained in
                 21
                        his personal Gmail account his quarterly performance review that discusses aspects of the structure
                 22
                        and design of Waymo’s highly confidential motion planner, including the particular state variables
                 23
                        used, their function and how they differ from prior implementations. Ex. 5.
                 24
                                In light of the source code identified in the Stroz Report and the materials retained by the
                 25
                        Diligenced Employees, Waymo is entitled to inspect Uber’s source code and determine the full scope
                 26
                 27        2
                                Uber’s objections to Magistrate Judge Corley’s Order were overruled on August 14. Dkt.
                        1188.
                 28

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                  1 of disclosure of Waymo’s software-related trade secrets to Uber. Such an analysis goes to the heart of

                  2 the question as to what Waymo trade secrets have been acquired, disclosed, or used by Uber. See

                  3 Cal. Civ. Code § 3426.1. Uber’s source code is thus unquestionably relevant and discoverable under

                  4 Rule 26 for Waymo’s claims of trade secret misappropriation by the Defendants.

                  5            The source code is particularly relevant given the involvement of the Diligenced Employees in

                  6 its development. Mr. Burnette was previously responsible for developing source code responsible for

                  7 motion planning and lane-change decisions at Waymo. Ex. 4 at 51:17-52:20. In Feburary 2016, he

                  8 left Waymo to join Ottomotto with Mr. Levandowski, and took the role of software engineer. Id. at

                  9 18:5-20:23. At Ottomotto, Mr. Burnette developed source code responsible for motion planning and

                 10 lane-change decisions. Id. at 52:21-24, 98:11-14. He later provided the motion planning source code

                 11 to Uber engineers through “back channels,” and helped them integrate it into their own code base. Id.

                 12 at 97:10-25. He also helped Uber develop its own lane-change source code, solving a problem in a

                 13 matter of days that Uber had previously been unable to complete. Id. While this prior deposition

                 14 testimony elicited during fact discovery raised questions, it was not until receipt of the Stroz Report

                 15 and its references to Waymo source code that Waymo was able to tie this suspiciously quick software

                 16 development to the theft of its own intellectual property.

                 17             Given that Uber has already produced earlier iterations of its source code, updating its source

                 18 code production is proportional to the needs of the case and imposes little burden on Defendants.
                 19 Indeed, all Waymo asks now is for Uber to update that production with its full, current

                 20 implementation, such that Waymo can compare the newly disclosed source code files and information

                 21 to the current relevant functionality at Uber.

                 22            B.      Waymo Was Not On Notice of The Source Code Theft Before The Stroz
                                       Report
                 23
                               The Stroz Report was the first time that Waymo learned that the Diligenced Employees had
                 24
                        retained any Waymo source code. Prior to September 13, Uber concealed the report itself, its exhibits,
                 25
                        and enormous amounts of data under an improper claim of privilege. Uber also instructed the
                 26
                        Diligenced Employees not to answer any questions concerning the Stroz investigation, including
                 27
                        questions about the devices they handed over as part of the investigation. Ex. 4 at 142:2-14. Waymo
                 28

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                  1 thus could not have requested discovery on materials that were hid from it throughout this case. Upon

                  2 receipt of the report, Waymo investigated the Stroz Report and related data that Stroz and Defendants

                  3 began producing following the Federal Circuit’s order. After identifying the nature and extent of the

                  4 source code the Diligenced Employees had stolen, Waymo previously requested production of Uber’s

                  5 source code .

                  6            Uber cannot legitimately claim any prejudice based on this request. Unlike Waymo, Uber has

                  7 been fully aware that the Diligenced Employees retained source code for over a year. But for Uber’s

                  8 improper claim of privilege and disregard of this Court’s orders, the source code discussed in the Stroz

                  9 Report would have been identified long ago and this issue would have been raised and resolved. The

                 10 Court has recognized that Uber should bear the brunt of discovery obligations stemming from

                 11 withholding the Stroz Report. Dkt. 1965, Oct. 3 Hr’g. Tr. at 38:24-39:5. Source code that the

                 12 Diligenced Employees developed while in possession of Waymo’s source code and proprietary

                 13 information falls squarely within those obligations. The current source code is thus relevant and fully

                 14 within the proper scope of post-Stroz Report discovery.

                 15            C.      Waymo Requests This Discovery to Properly Comply with the Court’s Oct. 23
                                       Deadline
                 16
                               After receiving the Stroz Report, Waymo promptly informed the Court that the discovery
                 17
                        Waymo was receiving had the potential to expand the scope of trade secrets Waymo asserted beyond
                 18
                        the LiDAR manufacturing trade secrets that Waymo was aware of when it filed its complaint, and that
                 19
                        further discovery was necessary before Waymo could bring any additional claims of misappropriation.
                 20
                        Dkt. 1723, Sept. 20 Hr’g Tr. at 77:7-18 (“If discovery turns up something that we hadn't found -- for
                 21
                        example, we made our list on hardware LiDAR but, you know, the download from Levandowski
                 22
                        included much more than that. And the Stroz Report for the very first time shows he took a bunch of
                 23
                        software, hundreds of software files. Now, suppose we look at those and we can tie those back into
                 24
                        the software they provided so there’s absolutely no question that he took some software and copied it
                 25
                        and put it in. We might bring that up to the Court and we might say we want to add that claim.”); Dkt.
                 26
                        1603-4 at 4, 8-9, 12-13, 17. Waymo continued to apprise the Court of these issues in view of the
                 27

                 28

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                  1 continuing production of Stroz-related discovery following the Federal Circuit ruling. Dkt. 1928-4 at

                  2 16-18; see also Dkt. 1847-4 at 2, 6, 11.

                  3           In light of these new disclosures, the Court granted Waymo leave to bring a motion to amend

                  4 its list of asserted trade secrets for trial. Dkt. 1954 (“Any request by Waymo to amend its list of

                  5 asserted trade secrets for trial, expert reports, or lineup of trial exhibits and witnesses must be made

                  6 via a formal motion to be filed by OCTOBER 23 AT NOON, with any response due by OCTOBER

                  7 25 AT NOON and a hearing on OCTOBER 26 AT 8:00 A.M.”). Waymo is thus required to provide

                  8 by October 23 whatever new trade secrets it intends to assert for trial as well as the expert testimony

                  9 and exhibits it intends to rely on to present such trade secrets at trial. It can be no surprise that

                 10 Waymo needs discovery to complete these tasks, especially given that Waymo was not previously on

                 11 notice of the retained source code.

                 12          D.      Waymo Did Not Waive The New Software Claims
                 13          There was also no waiver as to these claims previously because Waymo was not on notice of

                 14 them. A waiver of a claim can occur only if a party intentionally and voluntarily makes the choice to

                 15 waive. See, e.g., Kontrick v. Ryan, 540 U.S. 443, 458 n.13 (2004) (“[W]aiver is the intentional

                 16 relinquishment or abandonment of a known right.”) (internal quotation marks omitted); see generally,

                 17 Dkt. 1603-4 at 17-19. Waymo did not—and could not—have waived claims based on the new

                 18 disclosures from the Stroz Report because it did not know about them. On the other hand, if, under
                 19 the guise of a claim narrowing process, Waymo is deprived of its claims arising out of the Stroz

                 20 Report, that would violate Waymo’s due process rights. See In re Katz Interactive Call Processing

                 21 Patent Litig., 639 F.3d 1303, 1311 (Fed. Cir. 2011) (the “district court’s claim selection procedure

                 22 risked erroneously depriving [the plaintiff] of its rights and that the risk outweighed the added costs

                 23 associated with a substitute procedure.”); see also id. at 1312-13 (“Katz could have sought to

                 24 demonstrate that some of its unselected claims presented unique issues as to liability or damages. If,

                 25 notwithstanding such a showing, the district court had refused to permit Katz to add those specified

                 26 claims, that decision would be subject to review and reversal.”).
                 27          To the extent the Court does not allow this discovery and trial on these claims, Waymo will be

                 28 forced to file a second lawsuit to obtain relief, which would not serve any interests of judicial

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                  1 economy and unfairly prejudice Waymo’s ability to obtain relief in a timely fashion. Uber should not

                  2 be rewarded because it successfully delayed production of the Stroz Report. Waymo should be able to

                  3 access the relevant discovery now in order to comply with the Court’s October 23, 2017 deadline.

                  4 IV.       CONCLUSION
                  5           For the foregoing reasons, the Court should order Uber to produce the current the current

                  6 version of its source code.

                  7

                  8 DATED: October 9, 2017                      QUINN EMANUEL URQUHART & SULLIVAN,
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